                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION

   JILL NATION,

                                    Plaintiff,

           v.                                        Case No.: 3:22 cv 5063 - MDH

   THOMAS E. MOORE, DDS, and
   ROCK DENTAL MISSOURI, LLC,

                                    Defendants.


                                                 ORDER

        Before the Court are Plaintiff Jill Nation’s (“Plaintiff”) Proposed Exhibit List (Doc. 145),

Plaintiff’s Proposed Witness List (Doc. 146), Defendant Thomas E. Moore, DDS, and Thomas E.

Moore, DDS P.C.’s (Collectively, “Defendant Moore”) Proposed Exhibit List (Doc. 148),

Defendant Moore’s First Amended Proposed Witness List (Doc. 149), Defendant Rock Dental

Missouri, LLC’s Proposed Exhibit List (Doc. 140), and Defendant Rock Dental Missouri, LLC’s

Proposed Witness List (Doc. 141).

                            PLAINTIFF’S PROPOSED EXHIBIT LIST

        The depositions of Tracie Nation (Ex. 38) and Dr. Karl Jobst (Ex. 39), shall be admissible

only if the witness is unavailable for trial.

        The video depositions of Jessica Deaver (Ex. 79) and Jake Sligh (Ex. 83), Plaintiff must

show opposing counsel the exact video that will be shown and must keep the full video to show

portions that may be objected to.

        The news article titled “Rock Dental Brands secures $45M of additional credit

commitments from Twin Brook Capital Partners” (Ex. 94), shall not be identified at trial or offered




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into evidence until first approaching the bench. The Court doubts the admissibility of this

document.

       The Dentistry DSO Flow Chart (Ex. 95) will not be admitted unless by agreement.

       The Voicemail Transcript (Ex. 102) is excluded until its relevance is established. Parties

shall approach the bench before referring to the exhibit.

       The videos labeled “Normal Temporomandibular Joint Movement”, “TMJ Anterior Disk

Displacement with Reductions”, and “How Dental Implants Have Revolutionized Tooth

Replacement” (Ex. 112-114): any party wishing to use these exhibits will need to provide a proper

foundation and approach the bench before introduction of any substantive part of it to of the jury.

       The American Association of Oral and Maxillofacial Surgeons (AAOMS) website page –

Edentulism, the review article Journal of Oral Rehab and the Journal of Applied Oral Science

Article (Ex. 116-118): any party wishing to use these exhibits will need to provide a proper

foundation and approach the bench before introduction of any substantive part of it to the jury. In

any event the entire authenticated web page, and authenticated articles, will not be admitted as a

whole and, at most, limited portions specifically related to and addressed during expert testimony

will be presented before the jury.

       The Missouri Dental Board Complaint (Ex. 132) and all references to the complaint, its

investigation, and outcome are excluded.

       The Voicemail (Ex. 134) is excluded until its relevance is established. Parties shall

approach the bench before referring to the exhibit.

       The Bill of Sale (Ex. 142), Operating Agreement (Ex. 143), and Asset Purchase Agreement

(Ex. 144) the Court doubts the admissibility of these documents. Plaintiff shall notify Defendants

of what pages of those documents she intends to offer. The Defendants may then object on the




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specific pages and those objections will be reviewed at a later time. No reference shall be made to

those exhibits until further order of this Court.

                             DEFENDANT MOORE’S EXHIBIT LIST

         The OK Dental Board Records (Ex. 249) will not be admitted.

         The MSHP Records (Ex. 250) will not be admitted.

         The MVA Report (Ex. 251) will not be admitted.

         Management of a Class I Malocclusion with Traumatically Avulsed Maxillary Central and

Lateral Incisors (Ex. 365) will not be admitted unless and until proper foundation is laid.

         Managing the Patient with Missing or Malformed Maxillary Central Incisors (Ex. 366),

will be ruled upon at trial after the court hears the context in which its use is intended and

supported. In any event the entire authenticated article will not be admitted as a whole, and, at

most, limited portions specifically related to and addressed during expert testimony will be

presented before the jury.

         Demonstrative Orthodontic Animations/Story Boards of Jill Nation’s Dentition (Ex. 368)

will be shown to opposing counsel and any objection taken up at a later time.

                                 PLAINTIFF’S WITNESS LISTS

         All parties may choose two experts to opine on any subject. However, experts who

personally treated Plaintiff, may testify about the care provided. If however, they testify on

standard of care, causation, or prognosis then the testimony will count toward the two expert

limit.

                             DEFENDANT MOORE’S WITNESS LIST

         Witnesses’ numbers nine, ten, fourteen, and fifteen of Defendant Moore’s First Amended

Witness List will not be allowed to testify. they are precluded pursuant to the Court’s ruling on




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Plaintiff’s Motion to Strike Undisclosed Witnesses from Defendants’ Witness Lists.

               DEFENDANT ROCK BRIDGE DENTAL, LLC’S WITNESS LIST

       Witness number six, Traci Ussery, will not be allowed to testify.

       In addition to the Court’s rulings on the above, the Court would like to remind all parties

that their exhibit lists should conform to the Western District of Missouri’s Exhibit List Form.

       The Court also reminds the parties that these rulings do not preclude the parties from

objecting at trial or otherwise presenting or raising these issues again to the Court, as long as done

in accordance with proper procedure and outside the hearing of the jury.

IT IS SO ORDERED.
DATED: August 13, 2024
                                               /s/ Douglas Harpool
                                               DOUGLAS HARPOOL
                                               UNITED STATES DISTRICT JUDGE




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